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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

UNITED STATES OF AMERICA

       VS                                                                  CASE NO. 3: 02cr5 LAC

BRANDON E. CLARK

                                  REFERRAL AND ORDER

Referred to Judge Lacey Collier on June 12, 2008
Motion/Pleadings: MOTION FOR REDUCTION OF SENTENCE PURSUANT TO TITLE 18
U.S.C. § 3582(c)(2)
Filed by DEFENDANT PRO SE            on 6/5/08     Doc.# 200

RESPONSES:
BY GOVERNMENT                                  on 6/11/08                Doc.# 201
BY DEFENDANT PRO SE                            on 6/27/08                Doc.# 204
      Stipulated               Joint Pldg.
      Unopposed                Consented
                                               WILLIAM M. McCOOL, CLERK OF COURT

                                               s/Mary Maloy
LC (1 OR 2)                                    Deputy Clerk: Mary Maloy

                                             ORDER
Upon   consideration      of   the    foregoing,       it    is     ORDERED    this   8 th   day   of
August, 2008, that:
(a) The relief requested is DENIED.
(b) The defendant was held accountable for slightly below 10 kilograms of cocaine
base which resulted in a base offense level of 38. Pursuant to Amendment 706 to
the Sentencing Guidelines, the Drug Quantity Table at §2D1.1 assigns a base
offense of 38 for 4.5 kilograms or more of cocaine base. Since the defendant’s
base offense level is unchanged, he is not eligible for any reduction in his
sentence of imprisonment based upon this amendment.


                                                                  s /L.A. Collier
                                                             LACEY A. COLLIER
Entered On Docket:                    By:          Senior United States District Judge
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP
Copies sent to:




                               Document No.
